           Case 2:11-cv-01362-JCC Document 13 Filed 09/29/11 Page 1 of 8




                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF WASHINGTON

DAVID STEBBINS                                                               PLAINTIFF

VS.                                    CASE NO 11-1362

MICROSOFT, INC.                                                              DEFENDANTS

              EX PARTE MOTION FOR JUDGMENT ON THE PLEADINGS

       Comes now, pro se Plaintiff David Stebbins, who respectfully submits the following ex

parte motion for judgment on the pleadings.

                                  Explanation of ex parte status.

       At first, you are probably wondering why you should entertain a ex parte motion for

judgment, when you would think that the defendants should have a right to object to it.

       As you may have noticed, I now have a new address from when I first filed this case. See

Dkt. 10. The reason for this is because my landlord sued me for the tort of unlawful detainer.

They obtained a preliminary writ of possession, ordering me out of the apartment until a final

determination could be had. However, as soon as I filed my answer to the non-preliminary

portion of the unlawful detainer action, they filed a nonsuit without prejudice. I was not given a

chance to object to the nonsuit; I received the motion for nonsuit, and the order granting the

motion for nonsuit, all in one envelope (the Arkansas state judiciary does not yet have an ECF

system).

       I worried if their nonsuit without prejudice would prevent me from being able to obtain a

writ of restitution (in Arkansas unlawful detainer actions, a writ of restitution is given to

pevailing defendants/tenants, whereby they can get the apartment back), as it was not a final

determination.

       A few days ago, I called the Judge's office, seeking a status update on my petition for writ
          Case 2:11-cv-01362-JCC Document 13 Filed 09/29/11 Page 2 of 8




of restitution. Low an behold, the one who picked up the phone was not the judge's secretary,

but the judge himself!

       After getting the status update on my petition for writ of restitution, I asked the judge

why he did not give me the chance to object to the Plaintiffs' nonsuit. The judge replied that they

have an absolute right to nonsuit the case, and nothing I could say, or that the judge could insert

sua sponte, could change that. Although the Judge understood my argument that, if the nonsuit

prevented me from getting a writ of restitution that I would otherwise be entitled to if we

followed the case to a final conclusion, and I still won, that would prejudice my rights in that

respect; the bottom line was, their right to nonsuit the case was 100% absolute. Therefore, it was

pointless to wait for my response.

       If you wish to call the Clerk's Office and verify everything that I said, here is the

information about the case: The case took place in the Circuit Court of Boone County, AR –

Civil Division. The case was overseen by the Honorable Gordon Webb, and had the case number

of 2011-171-4.. I was the Defendant, and the Plaintiffs were Harp & Associates Real Estate

Services, LLC.

       This is why this motion for judgment on the pleadings is justified as being ex parte. As

you will soon find out, no matter what the Defendants can plead, and no matter what they can

prove, they are time-barred from challenging the arbitration awards under any circumstances,

whatsoever. even if they dispute whether or not an agreement to arbitrate exists! Therefore, it

would be pointless to serve the complaint (Dkt. 2) on the Defendants and have them respond

before I file this motion for judgment on the pleadings, so this Court can go ahead and ignore the

Defendants' objections.

       Of course, that would not matter if I could not demonstrate an absolute and unequivocal
         Case 2:11-cv-01362-JCC Document 13 Filed 09/29/11 Page 3 of 8




right to have these two arbitration awards confirmed. Therefore, allow me to move onto the

things I would argue if the Defendants had already appeared, and if this were any ordinary

motion for judgment on the pleadings:

                                  Why I am entitled to relief.

       The second of the two arbitration awards was obtained, via the forfeit victory clause, on

May 26, 2011. They had three months to move to vacate the arbitration award after that. See 9

U.S.C. § 12. Therefore, the final day for the Defendants to move to vacate the arbitration award

was August 26, 2011.

       Let us assume that the Defendants claim that the arbitration awards should not be

confirmed for all reasons which are allowed. Let us assume that the Defendants deny the

following:

   1. They never agreed to arbitrate anything with me,

   2. Even if they agreed to arbitrate, the award was procured by corruption.

   3. The arbitrators (if any there are) were biased against them.

   4. The arbitrators were guilty of misconduct.

   5. The arbitrators exceeded their powers, and

   6. The arbitrators manifestly disregarded the applicable law.

       Even assuming that they are not time-barred from challenging the arbitration awards

based on the non-existence of an arbitration agreement, they are time-barred from challenging

the arbitration awards on every other grounds.

       “Of course, if a court later determines that an arbitration agreement was in effect,
       and that the non-appearing party was bound by its conditions, the FAA would
       then fully come into operation, including the time limitations of section 12.”

       See MCI Telecommunications Corp. v. Exalon Industries, Inc., 138 F.3d 426 (1st Cir.
           Case 2:11-cv-01362-JCC Document 13 Filed 09/29/11 Page 4 of 8




1998).

         That First Circuit case law is the leading case on that side of the circuit split (the side that

states that the FAA is not triggered until there is an agreement to arbitrate). Therefore, it is quite

persuasive on this issue.

         However, even if this Court wants to adopt that side of the Circuit Split, it does not have

the option of doing so. Binding precedent in the region has already held that the three month

time limit does indeed apply, even when the opponent to arbitration is challenging the very

existence of an arbitration agreement in the first place.

         I cite the case of MBNA America Bank v. Miles, 140 Wn. App. 511 (2007). This is from

the Court of Appeals of the State of Washington, which is binding on this court in this case. See

Erie Railroad Co. v. Tompkins, 304 U.S. 64 (1938) (holding that state substantive law is binding

on federal courts in diversity cases).

         That case is very similar to this one. Below is a list of bullet points of substantial

similarities between that case and this one.

   •     The parties already had a contract to begin with.

   •     The Plaintiffs sent the Defendants a notice of unilateral amendment to the contract, which

         the Defendants supposedly accepted by not canceling the existing contract.

   •     The unilateral amendment contained an arbitration agreement that was not present in the

         original contract.

   •     After the grace period expired, and the Defendant had not canceled the preexisting

         contract, the Plaintiff initiated arbitration against the Defendant. The Defendant

         completely ignored the arbitration, and as a result, the Plaintiff won the arbitration.

   •     The Plaintiff waited more than three months to move to confirm the arbitration award.
          Case 2:11-cv-01362-JCC Document 13 Filed 09/29/11 Page 5 of 8




   •   The Defendants (I'm assuming) responded to the motion to confirm the arbitration award,

       claiming, in pertinent part, that they never agreed to arbitrate, and thus, the award was

       procured by “undue means,” which is a grounds to vacate under 9 U.S.C. § 10(a)(1).

       Despite those conditions, the Washington trial court held that Robert Miles was time-

barred from challenging the arbitration award. The Court of Appeals for the State of Washington

affirmed. The case went to the Supreme Court of the State of Washington, but no opinion seems

to have been published. Therefore, I assume that the case was either settled, or dismissed on a

technicality. Therefore, Appellate Court decision is still the law of the land in the State of

Washington.

       As you can see, the writing is on the wall; the Defendants are unequivocally time-barred

from challenging the arbitration award on any grounds. No matter what they can say, no matter

what they can prove, nothing can stop that.

       Of course, we need not turn to case law; the statutes themselves show a clear legislative

intent that the nonexistence of an arbitration agreement is not supposed to be an exception to the

three month time limit.

       Notice that I said “statutes,” as in... plural. I admit that the Federal Arbitration Act, by

itself, does not speak of this issue one way or another. However, when a single statute is vague,

its meaning can be ascertained by turning to other statutes of the same subject matter. This

doctrine is called in pari materia.

       The most obvious statute to turn to in this case would be the Uniform Arbitration Act of

2000. Section 23 of the statute deals with vacation of arbitration awards. Section 23(a) deals

with the vacation grounds themselves; section 23(b) deals with the time limit within which to file

the motion to vacate, and section 23(c) deals with the court ordering new arbitration hearings
            Case 2:11-cv-01362-JCC Document 13 Filed 09/29/11 Page 6 of 8




after the award has been vacated.

          Section 23(a) lists the four grounds that are also listed in the Federal Arbitration Act, with

which a party may move to vacate an arbitration award. However, it also expressly lists “no

agreement to arbitrate in the first place” arguments as a fifth grounds. With the Federal

Arbitration Act, we must think of that argument as an “undue means,” (like in the Miles case)

otherwise the case of Hall Street Associates, L. L. C. v. Mattel, Inc., 552 U.S. 576 (2008) would

bar the court from finding the nonexistence of an arbitration agreement is even a valid grounds to

vacate an arbitration award in the first place! Courts are not supposed to interpret statutes so as

to yield such absurd consequences. See Green v. Bock Laundry Machine Co., 490 U.S. 504

(1989).

          However, with the Uniform Arbitration Act, we do not have to do that. However, because

the Uniform Arbitration Act expressly lists them as separate, we should treat them as separate. I

am unaware of any specific case law or Latin phrase to describe this logic, but I think it holds as

a matter of common sense. Anyway, on with the argument.

          Section 23(b) of the Uniform Arbitration Act of 2000 provides for an unequivocal ninety

(90) day time frame to move to vacate an arbitration award. It provides an exception for when

the movant is asserting that the award was procured by corruption, fraud, or other undue means,

pursuant to Section 23(a)(1), but it does not provide for an extension of time for when the

movant is asserting that he never agreed to arbitration in the first place, under Section 23(a)(5).

By contrast, Section 23(c) expressly provides an exception for awards that are vacated pursuant

to Section 23(a)(5) of that statute.

          At that point, it becomes a matter of expressio unius est exclusio alterius (“the express

mention of one thing excludes all others”). The drafters of the Uniform Arbitration Act clearly
          Case 2:11-cv-01362-JCC Document 13 Filed 09/29/11 Page 7 of 8




did not intend for there to be any sort of extension of time to move to vacate an arbitration award

if you do not think you have agreed to arbitrate in the first place.

       Furthermore, this language was also in the 1955 predecessor to the Uniform Arbitration

Act of 2000! Even assuming that this language was only inserted in the 2000 version of the

UAA, Congress still had eleven years to go back in and change the FAA so as to prevent the FAA

from being interpreted in such a way, but they have not yet done so. However, by having the

language be in the 1955 version of the UAA, and Congress still has not done anything about it,

one simply has to infer their consent in their silence, under the maxim of qui tacet consentire

videtur (“he who is silent is taken to agree”).

       Even if this Court were to insist that the nonexistence of an arbitration agreement is a

type of “undue means,” notwithstanding the clear intent of the UAA to keep them separate, that

still does not help the Defendants. Section 23(b) states that the time limit applies “unless the

movant alleges that the award was procured by corruption, fraud, or other undue means, in which

case the motion must be made within 90 days after the ground is known or by the exercise of

reasonable care would have been known by the movant.” Underlined for emphasis.

       I clearly notified the Defendants of the arbitration initiated against them. With the

exercise of reasonable care, they would have known what was going on. Granted, I did not send

the arbitration to their legal division, but I should not have had to. You do not have to be a

lawyer to recognize a legal document when you see one, even if you do not necessarily

understand the contents of the document.

       Besides, the FAA does not provide for any kind of extension of time to file a motion to

vacate, at all, period. To infer that any kind of time extension was intended would violate the

precedent set by Hall Street Associates, L. L. C. v. Mattel, Inc., 552 U.S. 576 (2008) (holding that
          Case 2:11-cv-01362-JCC Document 13 Filed 09/29/11 Page 8 of 8




the limited scope of judicial review of an arbitration award cannot be expanded in any way,

shape, or form). To that extent, it flatly conflicts with the Uniform Arbitration Act; no in pari

materia is necessary; the FAA simply preempts the UAA in this case.

       Previously, I mentioned that it would be absurd to hold that the nonexistence of an

arbitration agreement is not a grounds to vacate an arbitration award under the FAA. However, it

is not absurd to expect a person aggrieved by an arbitration to which they did not agree to be the

aggressor and move to vacate it, and to do so in a timely manner. In fact, is that not why we

have statutes of limitations in the first place? I am not talking about a statute of limitations in the

FAA; I am talking about statutes of limitations generally. It is perfectly compliant with

fundamental societal values to expect a person wrongfully injured to be the aggressor and take it

to court, themselves, is it not?

       Wherefore, premises considered, I respectfully pray that the arbitration awards be

confirmed.
